        Case 19-11212-JCM                       Doc 86        Filed 03/28/25 Entered 03/28/25 09:09:51                         Desc Main
     Fill in this information to identify the case:           Document Page 1 of 4
     Debtor 1              BERNADETTE A. MYERS


     Debtor 2
     (Spouse, if filing)

     Unites States Bankruptcy Court for the:   Western District of Pennsylvania
                                                                                    (State)
     Case Number:          19-11212JCM




Form 4100N
Notice of Final Cure Payment                                                                                                          10/15

File a separate notice for each creditor.

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to cure the prepetition default in the claim
below has been paid in full and the debtor(s) have completed all payments under the plan.


 Part 1:             Mortgage Information

                                                                                                              Court claim no. (if known):
 Name of creditor:                  CU MEMBERS MORTGAGE - DIV COLONIAL                                               6

 Last 4 digits of any number you use to identify the debtor's account                         7   1   2   1

 Property Address:                             211 LOWRY RD
                                               ERIE PA 16511




 Part 2:             Cure Amount


 Total cure disbursments made by the trustee:
 .
                                                                                                                           Amount

 a. Allowed prepetition arrearage:                                                                                   (a)   $         800.40

     b. Prepetition arrearage paid by the trustee :                                                                  (b)   $         800.40

     c. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c):              (c)   $           0.00

     d. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c)               (d)   $           0.00
        and paid by the trustee:
     e. Allowed postpetition arrearage:                                                                              (e)   $           0.00

 f.       Postpetition arrearage paid by the trustee :                                                             + (f)   $           0.00

     g. Total. Add lines b, d, and f.                                                                                (g)   $         800.40



 Part 3:             Postpetition Mortgage Payment

 Check one

         Mortgage is paid through the trustee .
         Current monthly mortgage payment                                                                                  $        $823.44
         The next postpetition payment is due on                 2 / 1 / 2025
                                                                MM / DD / YYYY

 ! Mortgage is paid directly by the debtor(s).


Form 4100N                                                        Notice of Final Cure Payment                                         page 1
    Case 19-11212-JCM                Doc 86    Filed 03/28/25 Entered 03/28/25 09:09:51                            Desc Main
                                               Document Page 2 of 4



Debtor 1     BERNADETTE A. MYERS                                              Case number (if known) 19-11212JCM
             Name




 Part 4:     A Response Is Required By Bankruptcy Rule 3002.1(g)


 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their counsel, and the trustee, within 21
 days after service of this notice, a statement indicating whether the creditor agrees that the debtor(s) have paid in full the
 amount required to cure the default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs,
 and escrow amounts due, and (ii) consistent with § 1322(b)(5) of the Bankruptcy Code, are current on all postpetition
 payments as of the date of the response. Failure to file and serve the statement may subject the creditor to further action of
 the court, including possible sanctions.

 To assist in reconciling the claim, a history of payments made by the trustee is attached to copies of this notice sent to the
 debtor(s) and the creditor.




              "/s/ Ronda J. Winnecour
                    Signature
                                                                                 Date     03/28/2025


 Trustee            Ronda J. Winnecour

 Address            CHAPTER 13 TRUSTEE WD PA
                    600 GRANT STREET
                    SUITE 3250 US STEEL TWR
                    PITTSBURGH, PA 15219

 Contact phone      (412) 471-5566                                Email   cmecf@chapter13trusteewdpa.com




Form 4100N                                        Notice of Final Cure Payment                                             page 2
    Case 19-11212-JCM              Doc 86   Filed 03/28/25 Entered 03/28/25 09:09:51                         Desc Main
                                            Document Page 3 of 4



Debtor 1     BERNADETTE A. MYERS                                        Case number (if known) 19-11212JCM
             Name




                                              Disbursement History

Date         Check #    Name                                  Posting Type                                         Amount
MORTGAGE ARR. (Part 2 (b))
07/26/2021 1203651      CU MEMBERS MORTGAGE - DIV COLONIAL AMOUNTS
                                                           SAVINGS FA
                                                                    DISBURSED TO CREDITOR                           88.37
08/26/2021 1206751      CU MEMBERS MORTGAGE - DIV COLONIAL AMOUNTS
                                                           SAVINGS FA
                                                                    DISBURSED TO CREDITOR                          222.85
09/24/2021 1209896      CU MEMBERS MORTGAGE - DIV COLONIAL AMOUNTS
                                                           SAVINGS FA
                                                                    DISBURSED TO CREDITOR                          489.18
                                                                                                                   800.40

MORTGAGE REGULAR PAYMENT (Part 3)
07/29/2020   1166244    CU MEMBERS MORTGAGE - DIV COLONIAL AMOUNTS
                                                           SAVINGS FA
                                                                    DISBURSED TO CREDITOR                         5,342.01
08/25/2020   1169315    CU MEMBERS MORTGAGE - DIV COLONIAL AMOUNTS
                                                           SAVINGS FA
                                                                    DISBURSED TO CREDITOR                           671.13
09/28/2020   1172394    CU MEMBERS MORTGAGE - DIV COLONIAL AMOUNTS
                                                           SAVINGS FA
                                                                    DISBURSED TO CREDITOR                           676.53
10/26/2020   1175496    CU MEMBERS MORTGAGE - DIV COLONIAL AMOUNTS
                                                           SAVINGS FA
                                                                    DISBURSED TO CREDITOR                           683.50
11/24/2020   1178581    CU MEMBERS MORTGAGE - DIV COLONIAL AMOUNTS
                                                           SAVINGS FA
                                                                    DISBURSED TO CREDITOR                           689.29
12/21/2020   1181560    CU MEMBERS MORTGAGE - DIV COLONIAL AMOUNTS
                                                           SAVINGS FA
                                                                    DISBURSED TO CREDITOR                           689.53
01/25/2021   1184503    CU MEMBERS MORTGAGE - DIV COLONIAL AMOUNTS
                                                           SAVINGS FA
                                                                    DISBURSED TO CREDITOR                         1,034.43
02/22/2021   1187592    CU MEMBERS MORTGAGE - DIV COLONIAL AMOUNTS
                                                           SAVINGS FA
                                                                    DISBURSED TO CREDITOR                           689.75
05/25/2021   1197268    CU MEMBERS MORTGAGE - DIV COLONIAL AMOUNTS
                                                           SAVINGS FA
                                                                    DISBURSED TO CREDITOR                         1,444.26
06/25/2021   1200431    CU MEMBERS MORTGAGE - DIV COLONIAL AMOUNTS
                                                           SAVINGS FA
                                                                    DISBURSED TO CREDITOR                         1,508.51
07/26/2021   1203651    CU MEMBERS MORTGAGE - DIV COLONIAL AMOUNTS
                                                           SAVINGS FA
                                                                    DISBURSED TO CREDITOR                           815.42
08/26/2021   1206751    CU MEMBERS MORTGAGE - DIV COLONIAL AMOUNTS
                                                           SAVINGS FA
                                                                    DISBURSED TO CREDITOR                           716.61
09/24/2021   1209896    CU MEMBERS MORTGAGE - DIV COLONIAL AMOUNTS
                                                           SAVINGS FA
                                                                    DISBURSED TO CREDITOR                           716.61
10/25/2021   1212991    CU MEMBERS MORTGAGE - DIV COLONIAL AMOUNTS
                                                           SAVINGS FA
                                                                    DISBURSED TO CREDITOR                           716.61
11/22/2021   1216024    CU MEMBERS MORTGAGE - DIV COLONIAL AMOUNTS
                                                           SAVINGS FA
                                                                    DISBURSED TO CREDITOR                           716.61
12/23/2021   1219092    CU MEMBERS MORTGAGE - DIV COLONIAL AMOUNTS
                                                           SAVINGS FA
                                                                    DISBURSED TO CREDITOR                           603.88
04/26/2022   1231039    CU MEMBERS MORTGAGE - DIV COLONIAL AMOUNTS
                                                           SAVINGS FA
                                                                    DISBURSED TO CREDITOR                           332.13
06/27/2022   1237101    CU MEMBERS MORTGAGE - DIV COLONIAL AMOUNTS
                                                           SAVINGS FA
                                                                    DISBURSED TO CREDITOR                         4,207.66
07/26/2022   1240075    CU MEMBERS MORTGAGE - DIV COLONIAL AMOUNTS
                                                           SAVINGS FA
                                                                    DISBURSED TO CREDITOR                           734.81
08/24/2022   1242999    CU MEMBERS MORTGAGE - DIV COLONIAL AMOUNTS
                                                           SAVINGS FA
                                                                    DISBURSED TO CREDITOR                           734.81
09/27/2022   1245845    CU MEMBERS MORTGAGE - DIV COLONIAL AMOUNTS
                                                           SAVINGS FA
                                                                    DISBURSED TO CREDITOR                           734.81
10/25/2022   1248699    CU MEMBERS MORTGAGE - DIV COLONIAL AMOUNTS
                                                           SAVINGS FA
                                                                    DISBURSED TO CREDITOR                           734.81
11/23/2022   1251482    CU MEMBERS MORTGAGE - DIV COLONIAL AMOUNTS
                                                           SAVINGS FA
                                                                    DISBURSED TO CREDITOR                           734.81
12/22/2022   1254248    CU MEMBERS MORTGAGE - DIV COLONIAL AMOUNTS
                                                           SAVINGS FA
                                                                    DISBURSED TO CREDITOR                           780.49
01/26/2023   1256974    CU MEMBERS MORTGAGE - DIV COLONIAL AMOUNTS
                                                           SAVINGS FA
                                                                    DISBURSED TO CREDITOR                           780.49
02/23/2023   1259648    CU MEMBERS MORTGAGE - DIV COLONIAL AMOUNTS
                                                           SAVINGS FA
                                                                    DISBURSED TO CREDITOR                           780.49
03/28/2023   1262390    CU MEMBERS MORTGAGE - DIV COLONIAL AMOUNTS
                                                           SAVINGS FA
                                                                    DISBURSED TO CREDITOR                           780.49
04/25/2023   1265197    CU MEMBERS MORTGAGE - DIV COLONIAL AMOUNTS
                                                           SAVINGS FA
                                                                    DISBURSED TO CREDITOR                           780.49
05/25/2023   1268042    CU MEMBERS MORTGAGE - DIV COLONIAL AMOUNTS
                                                           SAVINGS FA
                                                                    DISBURSED TO CREDITOR                           780.49
06/26/2023   1270931    CU MEMBERS MORTGAGE - DIV COLONIAL AMOUNTS
                                                           SAVINGS FA
                                                                    DISBURSED TO CREDITOR                           780.49
07/25/2023   1273769    CU MEMBERS MORTGAGE - DIV COLONIAL AMOUNTS
                                                           SAVINGS FA
                                                                    DISBURSED TO CREDITOR                           780.49
08/25/2023   1276514    CU MEMBERS MORTGAGE - DIV COLONIAL AMOUNTS
                                                           SAVINGS FA
                                                                    DISBURSED TO CREDITOR                           780.49
09/26/2023   1279286    CU MEMBERS MORTGAGE - DIV COLONIAL AMOUNTS
                                                           SAVINGS FA
                                                                    DISBURSED TO CREDITOR                           780.49
10/25/2023   1282002    CU MEMBERS MORTGAGE - DIV COLONIAL AMOUNTS
                                                           SAVINGS FA
                                                                    DISBURSED TO CREDITOR                           780.49
11/27/2023   1284680    CU MEMBERS MORTGAGE - DIV COLONIAL AMOUNTS
                                                           SAVINGS FA
                                                                    DISBURSED TO CREDITOR                           780.49
12/21/2023   1287307    CU MEMBERS MORTGAGE - DIV COLONIAL AMOUNTS
                                                           SAVINGS FA
                                                                    DISBURSED TO CREDITOR                           799.15
01/26/2024   1289931    CU MEMBERS MORTGAGE - DIV COLONIAL AMOUNTS
                                                           SAVINGS FA
                                                                    DISBURSED TO CREDITOR                           799.15
02/26/2024   1292625    CU MEMBERS MORTGAGE - DIV COLONIAL AMOUNTS
                                                           SAVINGS FA
                                                                    DISBURSED TO CREDITOR                           799.15
03/26/2024   1295254    CU MEMBERS MORTGAGE - DIV COLONIAL AMOUNTS
                                                           SAVINGS FA
                                                                    DISBURSED TO CREDITOR                           799.15
04/25/2024   1297912    CU MEMBERS MORTGAGE - DIV COLONIAL AMOUNTS
                                                           SAVINGS FA
                                                                    DISBURSED TO CREDITOR                           799.15
05/29/2024   1300622    CU MEMBERS MORTGAGE - DIV COLONIAL AMOUNTS
                                                           SAVINGS FA
                                                                    DISBURSED TO CREDITOR                           799.15
06/25/2024   1303218    CU MEMBERS MORTGAGE - DIV COLONIAL AMOUNTS
                                                           SAVINGS FA
                                                                    DISBURSED TO CREDITOR                           799.15
07/25/2024   1305755    CU MEMBERS MORTGAGE - DIV COLONIAL AMOUNTS
                                                           SAVINGS FA
                                                                    DISBURSED TO CREDITOR                           799.15
08/26/2024   1308379    CU MEMBERS MORTGAGE - DIV COLONIAL AMOUNTS
                                                           SAVINGS FA
                                                                    DISBURSED TO CREDITOR                           799.15
09/25/2024   1310942    CU MEMBERS MORTGAGE - DIV COLONIAL AMOUNTS
                                                           SAVINGS FA
                                                                    DISBURSED TO CREDITOR                           799.15
10/25/2024   1313512    CU MEMBERS MORTGAGE - DIV COLONIAL AMOUNTS
                                                           SAVINGS FA
                                                                    DISBURSED TO CREDITOR                           799.15
11/25/2024   1316081    CU MEMBERS MORTGAGE - DIV COLONIAL AMOUNTS
                                                           SAVINGS FA
                                                                    DISBURSED TO CREDITOR                           799.15
12/23/2024   1318508    CU MEMBERS MORTGAGE - DIV COLONIAL AMOUNTS
                                                           SAVINGS FA
                                                                    DISBURSED TO CREDITOR                           823.44
                                                                                                                 45,707.64




Form 4100N                                   Notice of Final Cure Payment                                           page 3
   Case 19-11212-JCM           Doc 86     Filed 03/28/25 Entered 03/28/25 09:09:51                 Desc Main
                                          CERTIFICATE OF
                                          Document       SERVICE
                                                       Page 4 of 4
I hereby certify that on the date shown below, I served a true and correct copy of Notice of Final Cure Payment
upon the following, by regular United States mail, postage prepaid, addressed as follows:

BERNADETTE A. MYERS
211 LOWRY ROAD
ERIE, PA 16511

LAUREN M LAMB ESQ
STEIDL & STEINBERG PC
436 SEVENTH AVE STE 322
KOPPERS BUILDING
PITTSBURGH, PA 15219

CU MEMBERS MORTGAGE - DIV COLONIAL SAVINGS FA
C/O COLONIAL SAVINGS MORTGAGE SERVICES
PO BOX 2988
FT WORTH, TX 76113

KML LAW GROUP PC*
701 MARKET ST STE 5000
PHILADELPHIA, PA 19106




3/28/25                                                        /s/ Roberta Saunier
                                                               Administrative Assistant
                                                               Office of the Chapter 13 Trustee




Form 4100N                                   Notice of Final Cure Payment                                     page 1
